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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     10/19/2020
---------------------------------------------------------------------- X
                                                                       :
A.W., individually and on behalf of E.D., a child with a :
disability,                                                            :
                                                                       :
                                    Plaintiffs,                        :   20-CV-6799 (JPC) (SN)
                                                                       :
                  -v-                                                  :       NOTICE OF
                                                                       :     REASSIGNMENT
NEW YORK CITY DEPARTMENT OF EDUCATION, :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
